Case 1:01-cv-12257-PBS Document 6195-11 Filed 06/26/09 Page 1 of 4

TAB 10
Case 1:01-cv-12257-PBS Document 6195-11 Filed 06/26/09 Page 2 of 4

NO. CV3-03079
:

THE STATE OF TEXAS IN THE DISTRICT COURT OF

THE STATE OF TEXAS

ex rel.
VEN-A-CARE OF THE
FLORIDA KEYS, INC.

NSU OMRON

Plaintiffs,

vs TRAVIS COUNTY, TEXAS

SAREE eae

ROXANE LABORATORIES, INC.,
BOEHRINGER INGELHEIM
PHARMACEUTICALS, INC.,

BEN VENUE LABORATORIES, INC.,
and BOEHRINGER INGELHEIM
CORPORATION

aaaAnG

Defendants. 201st JUDICIAL DISTRICT

EET

mH EN

VIDEOTAPED DEPOSITION OF JIM KING

Taken before Lori Miller, Licensed Shorthand
Reporter, a Notary Public in and for the State of

Connecticut, pursuant to Notice and the Connecticut Practice

Book, at The Inn at Ethan Allen, 21 Lake Avenue Extension,

AT RDN TORENT OR

Danbury, Connecticut, on December 3, 2004, commencing at 9:30

a.m.

aL DNR

See AR

Case 1:01-cv-12257-PBS Document 6195-11 Filed 06/26/09 Page 3 of 4

50 (Pages 194 to 197

)

194 196
1 and I'll read from the bottom of the paragraph, Jim has 1 A We've instituted a training program, three
2 also been asked to take a lead role in addressing and 2 modules of which sales representatives have to take
3 implementing sales force compliance programs given the 3 every year, and it's followed as to who takes it and who
4 recent introduction of the PARMA Marketing Code and OIG | 4 — doesn't. These were instituted, I believe, two years
5 guidelines. Did I read that correctly? 5 ago, or soon thereafter this, and we mandated that the
6 A Yes. 6 representatives go through these training modules every
7 Q. Okay. And is that in fact what happened in 7 year, as well as incorporating a modicum of training
8 2002, that you became responsible for implementing OIG 8 with OIG guidelines and the new sales rep hire
9 guidelines, among other things, for the BIPI sales 9 curriculum. Those are the things that have been done.
10 force? 10 Q_ Are other personnel at BIPI made aware of the
11 A That's correct. 11 OIG guidelines other than sales representatives?
12 Q_ Were there some type of tentative OIG 12 MR. WINGARD: Object; form.
13 guidelines that were published at that point in 2002? 13 A Idon't know. My opinion is, yes, they
14 A_ I'm not sure whether OIG guidelines had been 14 probably are, but I really don't know
15 published at that time. If they had not been, they 15 BY MR. ANDERSON:
16 followed soon thereafter. 16 Q_ Do you train your employees on the OIG
17 Q When you were given that responsibility, how 17 guideline provisions that pertain to AWP?
18 was it that you and others at BIPI knew that there were 18 A_ No, not sales force employees.
19 OIG guidelines? 19 Q Do you train the BIPI employees or otherwise
20 A I believe when this was published, I was vice 20 admonish them to not to discuss AWP reimbursements in
21 president of sales, and as such would have received 21 selling drug products?
22 these guidelines directly from our legal department when |22 A No, we do not.
23 they were published, if they had been published by then. [23 Q. Why is that?
24 ‘I'm not sure of the time window. 24 A We pay very little attention to pricing with
25 MR. WINGARD: Just for the record, since 25 respect to training the new sales reps.
195 197
1 I don't know what your answer might be, I 1 Q_ When you talk about the field sales force, you
2 just have to caution you to the extent that 2 encompass within that the Roxanne brand drugs, right?
3 Mr. Anderson asked you a question that would 3 A Correct.
4 cause you to reveal substantive 4 Q_ So, to the extent we're talking about the BIPI
5 communications between yourself and the 5 sales force that you're training on the OIG guidelines,
6 legal department at Boehringer, if you let 6 including Roxane representatives who sell, quote
7 us know, so that I can assert the proper 7 unquote, brand drugs, right?
8 objection. 8 A Correct. That's right now, and, then, the
9 A Understand. 9 last two years only Viramune, only Viramune, that's a
10 BY MR. ANDERSON: 10 Roxanne product, that is a previous Roxane product, and
i Q_ Do you maintain a copy of the OIG guidelines? |11 _ it's being promoted by the field sales force.
12 A_ I believe I have a copy of the OIG guidelines, |12 Q_ What about Oramorph, how is that product
13 yes. 13 promoted?
14 Q Currently, in your office, there's a folder 14 A. [have no idea.
15 and you have a physical printout of the OIG guidelines; |15 QI think you testified earlier in your tenure
16 is that right? 16 at BI you have had responsibility for the sales force
17 A That's correct. 17 that promoted Oramorph, correct?
18 Q_ And you had those for some time now, correct? [18 A Correct.
19 A Correct. 19 Q_ And roughly what time frame was that that you
20 Q_ And you feel like you're familiar with those, 20 were responsible for that drug product?
21 don't you? 21 A Probably '99, somewhere in the summer of '99
22 A Yes. 22 to the summer of '00. We had a palliative care sales
23 Q_ What steps have you taken to make sure that 23 force. It was disbanded I believe right around in April
24 the BIPI sales force is in compliance with those OIG 24 or May of 2000.
25 guidelines? 25 Q

Case 1:01-cv-12257-PBS Document 6195-11 Filed 06/26/09 Page 4 of 4

51 (Pages 198 to 201)

198 200 |fi
1 Bl or Roxane brand products, who is it that normally 1 about four months ago, about that, or when Tim actually
2. sets the AWP on a product? 2 came on board. He's a new hire. I don't actually do i
3 A That's an interesting question. We really 3. this anymore. I had him for about four or five months. :
4 never set an AWP on the branded side. We set only 4 Q Is it fair to say Tim took your compliance
5 wholesale acquisition costs, and our entire conversation 5 responsibility from you? :
6 about product before we launch it, it's all about 6 A Itis fair. i
7 wholesale acquisition costs. 7 Q_ Did I understand your testimony a few moments !
8 AWP, traditionally, with our company as well 8 ago that he is in charge of the compliance training for :
9 as another company I have been with previously, and I'm | 9 __ the sales force as well as the marketing force at
10 assuming that most of the other companies in the 10 ~_—_ Boehringer?
11 industry are the same, is a traditional increase from 11 A Correct.
12 _-your wholesale acquisition cost to the AWP. Wehardly |12 Q_ But when you were in charge of compliance for
13 ever speak about AWP in business or in training -- I 13 of the sales force, you did not have any marketing
14 never speak about it in training sales reps. 14 responsibilities? :
15 Q_ What is the standard markup at Boehringer 15 A Correct. :
16  Ingelheim's offered WAC to the product -- 16 Q_ Why was it that Mr. Schmidt was, it was A
17 A_ Sixteen two-thirds percent. 17 determined he would have compliance responsibility for ;
18 Q_ So, in other words, for the jury, that means 18 both units? :
19 that you would multiply a given WAC by 1.1666 and you 19 A. Ireally don't know. Mr. Fontaine made that :
20 would get an AWP on that product? 20 decision, and he brought Tim Schmidt on board. I don't ;
21 A Theoretically, yes. 21 ~~ know. :
22 Q_ Now, would that same basic formula hold true 22 Q_ Did you do anything to train Mr. Schmidt?
23 for Roxane's brand drugs? 23 A No.
24 A Yes. 24 Q_ Do you know what Mr. Schmidt has done, or
25 Q_ Do you recall whether or not Oramorph had 25 anybody else for that matter, to train the Boehringer :
199 201
1 therapeutic competition from another product? 1 marketing department on the OIG guidelines?
2 A Yes, they did. 2 A No,I do not.
3 Q_ And what was that drug called? 3 Q Do you or anyone at your direction ever train
4 A Perdue Fredericks. Product was exactly the 4 the Boehringer marketing team on the OIG guidelines?
5 same. S A No, I never did. If that's your question, nor
6 Q_ And what type of product is Oramorph? 6 did I ever direct anybody to do so.
7 A Synthetic morphine, for pain; mostly for 7 Q_ What's your basic understanding of the OIG
8 cancer patients. 8 guidelines regarding AWP?
9 Q_ And would Perdue's product have been a 9 A [really don't know much about AWP and the OIG
10 — synthetic morphine as well? 10 guidelines.
il A Exact same product. 11 Q_ Do you recall reading portions of the OIG
12 Q_ Inyour experience as being the compliance -- [12 guidelines which deal with AWP?
13. well, strike that. 13 A_ It was not an area of focus of interest for :
14 Are you the compliance officer for Boehringer |14 me, because we don't really train our sales force on :
15 = Ingelheim Pharmaceuticals? 15 AWP, or pricing in general. Our sales force is kind of i
16 A No. 16 ~—_—s removed from the pricing piece with respect to drugs. i
17 Q_ Who is? 17 Q. What's your understanding of the kickbacks :
18 A Tim Schmidt -- oh, all right officer, I 18 provision of the OIG guidelines? ‘
19 believe is Ed Miller. 19 A My interpretation of it is that we have to ;
20 Q. What position does Tim Schmidt hold. 20 avoid even the appearance of kickbacks, especially when :
21 A He is the compliance, director of compliance |21 there's Medicaid involved. Any kind of government :
22 for sales and marketing. 22  sponsored/paid for prescriptions involved, we have to i
23 Q_ So, would you say that Mr. Schmidt holds a 23 avoid even the appearance of kickbacks.
24 position that's parallel to yours? 24 So, we have to be extremely cautious about 1
25 A_ No. I was relieved of the compliance piece 25 spending money on people who are capable of writing ‘

re reat Speier dere eae aoe nea ene aE EE ETE
